     Case 1:25-cv-00465-TNM                Document 22-3    Filed 02/24/25    Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES CONFERENCE OF
CATHOLIC BISHOPS,

                             Plaintiff,

v.

UNITED STATES DEPARTMENT OF
STATE;
                                                           Case No. 1:25-cv-465
                                                           DECLARATION OF CYNTHIA
MARCO RUBIO, in his official capacity as
                                                           NUNES COLBERT IN SUPPORT OF
Secretary of State, Department of State;                   PLAINTIFF’S MOTION FOR
                                                           PRELIMINARY INJUNCTION
BUREAU OF POPULATION, REFUGEES,
AND MIGRATION, Department of State;

JENNIFER DAVIS, in her official capacity as
Principal Deputy Assistant Secretary, Bureau
of Population, Refugees, and Migration,
Department of State;


UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services;

                              Defendants.
     Case 1:25-cv-00465-TNM           Document 22-3        Filed 02/24/25     Page 2 of 4




                   DECLARATION OF CYNTHIA NUNES COLBERT

        1.     I, Cynthia Nunes Colbert, am the President and CEO at Catholic Charities of the

Archdiocese of Galveston-Houston ("CCAGH"). As President and CEO, I coordinate our

cooperative partnership with the United States Conference of Catholic Bishops ("USCCB") in

offering resettlement services to refugees in our community.

        2.     I make this declaration based on personal knowledge and am competent to do so.

        3.     I am submitting this declaration in support of USC CB' s Motion for a Preliminary

Injunction.

        4.     As a faith-based charity, CCAGH' s mission is to serve the residents of southeast

Texas by delivering compassionate services and advocating for social justice in partnership with

parishes and communities. The organization has served the poor and vulnerable within the

Archdiocese for over eighty years. Since the 1980s, CCAGH has partnered with USCCB to

resettle refugees admitted through the U.S. Refugee Admissions Program.

        5.     The federal government's sudden suspension of funding to support our

resettlement services has profoundly affected the agency and the clients we serve. Typically,

CCAGH prepares an annual budget for each of its critical programs based on contractually

committed funding and other projected sources of income. We allocated funds among our

programs based on the expectation of reimbursements for refugee resettlement services through

the cooperative agreements between USCCB and the government. With the sudden stop to those

reimbursements, we have been forced to pull unrestricted funding from other programs to

continue providing even a minimal level of services to the more than 700 refugees currently in

our care.

       6.      Since January 24, 2025, CCAGH has been able to provide only the most basic

resettlement services to our refugees, drawing on limited financial reserves to provide basic aid

                                                1
     Case 1:25-cv-00465-TNM           Document 22-3       Filed 02/24/25      Page 3 of 4




such as food, utilities, and rental assistance. We refuse to abandon the refugees assigned to our

care, but our ability to serve these refugees is already severely curtailed and will continue to

decrease as time goes on.

        7.     The immediate financial impact from the government suspension has been

drastic. CCAGH has had to lay off50 temporary employees and 130 full-time employees, which

has occasioned at least $150,000 in employee separation costs. We have cancelled office and

parking leases, incurring more than $160,000 in termination costs. And we are currently

carrying a receivable of more than $1.1 million for refugee resettlement services still

unreimbursed by USCCB-along with an additional $2 million in related costs-with no

assurance of payment.

       8.      In the past, when CCAGH has worked through grants, the agency has been able

to wind down program activities in an orderly manner as grants are expected to end. But the

abrupt and unprecedented suspension of our refugee resettlement program has resulted in steep,

unbudgeted costs, causing programmatic disruptions to ripple throughout every agency program

and department.

       9.      The ongoing unpredictability and instability of refugee resettlement assistance

from the government has caused CCAGH to re-direct its focus to other client service programs

that benefit all low-income clients more generally.     These services include food pantries,

counseling, emergency assistance, and life skills classes. But we are unable to provide the

specific services most needed by recently arrived refugees, such as employment, education, and

housing assistance, without reliable support.

       10.     CCAGH values its long and impactful relationship with USCCB. However,

given the ongoing funding uncertainty, the agency cannot commit to continuing refugee



                                                2
      Case 1:25-cv-00465-TNM           Document 22-3         Filed 02/24/25      Page 4 of 4




 resettlement services at the service level required by USCCB' s agreements with the government.

 We do not anticipate taking on any more refugees referred to us by USCCB as part of

 government-sponsored resettlement programs.

        11.     I declare under penalty of perjury that the foregoing is true and correct to the best

 of my understanding.


Signed this 23rd of February 2025,




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